            Case 4:23-cv-04155-YGR Document 208 Filed 03/08/24 Page 1 of 2



 1 JESSE LASLOVICH
   United States Attorney
 2 MADISON L. MATTIOLI                                  MARK STEGER SMITH
    MT Bar No. 36411284                                  MT Bar No. 4160
 3 ABBIE J.N. CZIOK                                     TIMOTHY A. TATARKA
    MT Bar No. 55781377                                  CA Bar No. 277219
 4 Assistant U.S. Attorneys                             Assistant U.S. Attorneys
   U.S. Attorney’s Office                               U.S. Attorney’s Office
 5 901 Front Street, Suite 1100                         James F. Battin Federal Courthouse
   Helena, MT 59626                                     2601 2nd Ave. North, Suite 3200
 6 Phone: (406) 457-5269 – Madison                      Billings, MT 59101
        (406) 457-5268 – Abbie                          Phone: (406) 247-4667 – Mark
 7 Fax: (406) 457-5130                                          (406) 247-4642
   Email: madison.mattioli@usdoj.gov                    Fax: (406) 657-6058
 8              abbie.cziok@usdoj.gov                   Email: mark.smith3@usdoj.gov
                                                             timothy.tatarka@usdoj.gov
 9 Attorneys for Federal Defendants and
   Defendant United States of America.
10

11                      IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
12
   CALIFORNIA COALITION FOR WOMEN
13 PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
   G.M.; A.S.; and L.T., individuals on behalf of
14 themselves and all others similarly situated,    CASE NO. 4:23-CV-04155-YGR
15                     Plaintiffs
                  v.
16
   UNITED STATES OF AMERICA FEDERAL
17 BUREAU OF PRISONS, a governmental entity;        UNITED STATES’ SECOND
   BUREAU OF PRISONS DIRECTOR                       SUPPLEMENTAL NOTICE REGARDING
18 COLETTE PETERS, in her official capacity;        DOC. 157
   FCI DUBLIN WARDEN THAHESHA JUSINO,
19 in her official capacity; OFFICER
   BELLHOUSE, in his individual capacity;
20 OFFICER GACAD, in his individual capacity;
   OFFICER JONES, in his individual capacity;
21 LIEUTENANT JONES, in her individual
   capacity; OFFICER LEWIS, in his individual
22 capacity; OFFICER NUNLEY, in his individual
   capacity, OFFICER POOL, in his individual
23 capacity, LIEUTENANT PUTNAM, in his
   individual capacity; OFFICER SERRANO, in
24 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
25 individual capacity; and OFFICER VASQUEZ,
   in her individual capacity,
26
                      Defendants.
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     UNITED STATES’ SECOND NOTICE RE: DOC. 157                                Case No. 4:23-cv-04155-YGR
            Case 4:23-cv-04155-YGR Document 208 Filed 03/08/24 Page 2 of 2



 1         The government respectfully submits its Second Supplemental Notice in response to Doc. 157,

 2 the Court’s Order Granting Immediate, Specific Relief Based on Emergency Health and Safety

 3 Concerns at the FCI Dublin Satellite Camp (SPC Dublin). BOP provides the following update regarding

 4 the mold and asbestos inspection:

 5         According to a project coordinator for the mold and asbestos contractor, the company anticipates

 6 releasing reports by Wednesday, March 13, 2024, at the latest.

 7         Respectfully submitted this 8th day of March, 2024.

 8
                                                       JESSE A. LASLOVICH
 9                                                     United States Attorney
10
                                                       /s/ Madison L. Mattioli
11                                                     MADISON L. MATTIOLI
                                                       ABBIE J.N. CZIOK
12                                                     MARK STEGER SMITH
                                                       TIMOTHY A. TATARKA
13                                                     Assistant U.S. Attorneys
                                                       Attorneys for Federal Defendants
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     UNITED STATES’ SECOND NOTICE RE: DOC. 157                                   Case No. 4:23-cv-04155-YGR
